Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 1 of 15

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

LEVY GARDENS PARTNERS 2007, LP ClVlL ACTION

Plaz'n£z`jjf

versus
18-769 (JEB)
STEVEN TERNER MNUCHIN, Secretary,
United States Department of the Treasury

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Defendan£

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MOTIO.N ANI) INCORPORATED MEMORANDUM
IN SUPPORT OF MOTION FOR LEAVE TO FILE SUR-REPLY

Levy Gardens Partners 2007, LP respectfully moves to file a three (3) page Sur-Reply (i)
providing this Court With a summary of the goals behind Dodd-Frank and (ii) commenting on
constitutional issues raised by the Commerce and Supremacy Clauses of the United States
Constitution not fully addressed in the present pleadings but manifest in the facts M M.

Clearly, Levy Gardens has no objection to the Secretary of the Treasury filing a rebuttal or
in anything that the Court may deem appropriate The substance of the proposed sur-reply is
important to issues that are nationally significant

Respectfully submitted,

/s/Henrv L_ Klein

Henry L. Klein (DC Bar LAOOOB)
844 Baronne Street

New Orleans, LA 70113

(504) 301-3027
henrvklein44@gmail.com

Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 2 of 15

IN THE UNITED STATES I)ISTRICT C()URT
FOR THE DISTRICT OF COLUMBIA

LEVY GARDENS PARTNERS 2007, LP ClVIL ACTION

Plainfz'ff

versus
18-769 (JEB)
STEVEN TERNER MNUCHIN, Secretary,
United States Department of the Treasury

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ORDER
Considering the Motion by Levy Gardens to tile a three-page Sur-reply,
IT IS ORDERED that the l\/lotion is GRANTED and the Sur-reply is deemed filed.

lT lS FURTHER ORDERED that The Secretary of the Treasury is granted days to

 

respond, if he so desires.

District of Columbia, this day of March, 2019.

 

UNITED STATES DISTRICT JUDGE

Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 3 of 15

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

LEVY GARDENS PARTNERS 2007`, LP ClVIL ACTION

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versus

STEVEN TERNER l\/lNUCl-HN, Secretary,

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* 18-769 (JEB)
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United States Department of the Treasury *
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=i=

Defendant

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SUR-REPLY BY LEVY GARDENS PARTNERS 2007 LP

Very respectfully, Levy Gardens tiles the following sur-reply to the reply filed by the

Secretary of the Treasury on March 8, 2019, Doc. 35, as follows:
LAISSEZ-FAIRE

For added perspective as to the Congressional intent for the Dodd-Frank Act, We provide an
Executz`ve Summarv ofFinancial Re£ulatorv Reforrn.' A New Foundation, Exhibit A, published at
https://Www.treasurv.gov/initiatives/Wsr/Documents/executiveisummarv.pdf. Respectfully, the
response by Secretary l\/lnuchin at Doc. 35 was non-responsive Congress expected Treasury to

protect the consumer, not opt-out. Instead, We have a laissez faire approach as to a multi-billion

 

dollar deregulated industry. At page 3 of the EXecutive Summary, the following is stated:

“These proposals are the product of broad-ranging individual
Consultations With members of the President’s Working Group on
FinancialMarkets, Members of Congress, academics, consumer and
investor advocates, community-based organizations the business
communityJ and industry and market participants "

The third proposal is instructive and on point herein:

“(3) Protect consumers and investors from fnancz'al abuse. To
rebuild trust in our markets, We need strong and consistent regulation
and supervision of consumer financial services and investment
marketsl We should base this oversight not on speculation or abstract
models, but on actual data about how people make financial
decisions We must promote transparency, simplicity, fairness,
accountability and access. We propose....”

Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 4 of 15

DECEMBER 13 2013

 

On December 13, 2013, the NAIC’ s Title fnsurance Risk-Based Car)ital Subgroup ofthe Tide
fnsurance Task Force and the Ca,oital Adeauacv Task Force conceded that developing risk-based
capital requirements for the title industry was nothing short of impossible, Exhibit B. The NAIC
Memorandum implored the governing body to grant permission to disband, arguing that
“...developing risk-based capital requirements for title insurers is not feasible at this time...”

Actually, the die was cast decades ago.

THE COMMERCE AND SUPREMA CY CLA USES

In one of the NAIC surveys introduced in Kiein v. ALTA years ago, we provided evidence of
across-the-board state deregulation of` title insurers, Exhibit C. But when the 79th Congress passed
the McCarran Ferguson Act, it intended that the states regulate “...the business of insurance...”, a
mandate steeped in federalism concepts'. When every state passed laws exempting title insurers
from the rigors ofRBC reporting, each state violated the Commerce and Supremacy Clauses of the
United States Constitution. The Commerce Clause of the United States Constitution, Article l § 8,
cl. 3 gives Congress “...the power to regulate Commerce....among the several states...”, which
Congress delegated to the states in l945, expecting compliance, not circumvention The Suprernacy

Clause of the United States Constitution, Article VI is the comerstone of federalism, providing:

“This Constitution, and the laws of the United States which shall be
made in pursuance thereof...shall be the supreme law of the land; and
the judges in every state shall be bound thereby, anything in the
Constitution or laws of any State to the contrary notwithstanding...”

In Edgar v. MITE Corooration, 457 U.S. 624 (1982), the United States Supreme Court held
that “...a state statute is void to the extent that it actually conflicts with a valid federal statute; and
‘a conflict Will be found where compliance with both federal and state regulation is a physical

impossibility...." Therefore, if a title insurance policy is “...a contract ofinsurance. . .” as the industry

 

1 “The proposed Constitution, therefore, is, in strictness, neither a
national nor a federal Constitution, but a composition of both....”,

F ederal ist PaQer 39.

Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 5 of 15

would have millions of innocents believe, then every state statute identified in Exhibit C is VOID

as a blatant effort to circumvent McCarran-Ferguson.

Unless, of course, it’s not “...insurance...”. Levy Gardens respectfully submits that the
DECLARAT[ON sought by Klein v. ALTA_ Kfein v. Lewis Tin’e and Klein v. Mnachin, now Levv

Gardens v. Mnachin must finally bring this corrupt industry down.

Respectf`ully submitted,

/s/ Henrv L. Klein

Henry L. Klein (D.C. Bar LA0003)
844 Baronne Street

New Orleans, LA 70113

(504) 301-30127
henrvklein44@gmail.corn

CERTIFICATE OF SERVICE

l certify that this pleading has been served on all counsel of record through the Court’s

electronic filing process this 15th day of March, 2019.

/s/ Henrv L. Klein

Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 6 of 15

EXECUTIVE SUMMARY oF FINANCIAL REGULATORY REFORM: A NEW FoUNDATIoN

INTRODUCTION

Over the past two years we have faced the most severe financial crisis since the Great
Depression. Americans across the nation are struggling with unemployment, failing businesses
falling horne prices, and declining savings These challenges have forced the government to take
extraordinary measures to revive our financial system so that people can access loans to buy a
car or home, pay for a child’s education, or finance a business

The roots of this crisis go back decades Years without a serious economic recession bred
complacency among financial intermediaries and investors Financial challenges such as the
near-failure of Long-Term Capital Management and the Asian Financial Crisis had minimal
impact on economic growth in the U.S., which bred exaggerated expectations about the
resilience of our financial markets and firms Rising asset prices, particularly in housing, hid
weak credit underwriting standards and masked the growing leverage throughout the system.

At some of our most sophisticated financial firms, risk management systems did not keep pace
with the complexity of new financial products The lack of transparency and standards in
markets for securitizecl loans helped to weaken underwriting standards Market discipline broke
down as investors relied excessively on credit rating agencies Compensation practices
throughout the financial services industry rewarded short-term profits at the expense of long-
term value.

Households saw significant increases in access to credit, but those gains were overshadowed by
pervasive failures in consumer protection, leaving many Americans with obligations that they
did not understand and could not afford.

While this crisis had many causes, it is clear now that the government could have done more to
prevent many of these problems from growing out of control and threatening the stability of our
financial system. Gaps and weaknesses in the supervision and regulation of financial firms
presented challenges to our government’s ability to monitor, prevent, or address risks as they
built up in the system. No regulator saw its job as protecting the economy and financial system
as a whole. Existing approaches to bank holding company regulation focused on protecting the
subsidiary bank, not on comprehensive regulation of the whole firm. Investment banks were
permitted to opt for a different regime under a different regulator, and in doing so, escaped
adequate constraints on leverage Other firms, such as AIG, owned insured depositories, but
escaped the strictures of serious holding company regulation because the depositories that they
owned were technically not “banks” under relevant law.

We must act now to restore confidence in the integrity of our financial system. The lasting
economic damage to ordinary families and businesses is a constant reminder of the urgent need
to act to reform our financial regulatory system and put our economy on track to a sustainable
recovery. We must build a new foundation for financial regulation and supervision that is
simpler and more effectively enforced, that protects consumers and investors that rewards
innovation and that is able to adapt and evolve with changes in the financial market

ln the following pages we propose reforms to meet five key objectives

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Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 7 of 15

(]) Prornote robust supervision and regulation offinanciaf_firnzs. Financial institutions that are
critical to market functioning should be subject to strong oversight No financial firm that poses
a significant risk to the financial system should be unregulated or weakly regulated We need
clear accountability in financial oversight and supervision We propose:

o A new Financial Services Oversight Council of financial regulators to identify emerging
systemic risks and improve interagency cooperation

o New authority for the Federal Reserve to supervise all firms that could pose a threat to
financial stability, even those that do not own banks

v Stronger capital and other prudential standards for all financial firms and even higher
standards for large, interconnected firms

¢ A new National Bank Supervisor to supervise all federally chartered banks

0 Elimination of the federal thrift charter and other loopholes that allowed some depository
institutions to avoid bank holding company regulation by the F ederal Reserve.

0 The registration of advisers of hedge funds and other private pools of capital with the
SEC.

(2) Estabiish comprehensive supervision of`jinaneiai markets Our major financial markets must
be strong enough to withstand both system-wide stress and the failure of one or more large
institutions We propose:

¢ Enbanced regulation of securitization markets including new requirements for market
transparency, stronger regulation of credit rating agencies and a requirement that issuers
and originators retain a financial interest in securitized loans

v Comprehensive regulation of all over-the-counter derivatives

o New authority for the Federal Reserve to oversee payment, clearing, and settlement
systems

(3) Protect consumers and investors from financial abuse To rebuild trust in our markets we
need strong and consistent regulation and supervision of consumer financial services and
investment markets We should base this oversight not on speculation or abstract models but on
actual data about how people make financial decisions We must promote transparency,
simplicity, fairness accountability, and access We propose:

¢ A new Consumer Financial Protection Agency to protect consumers across the financial
sector from unfair, deceptive, and abusive practices

0 Stronger regulations to improve the transparency, fairness and appropriateness of
consumer and investor products and services

0 A level playing field and higher standards for providers of consumer financial products
and services whether or not they are part of a bank.

(4) Provide the government with the tools it needs to manage fnanciai crises. We need to be
sure that the government has the tools it needs to manage crises if and when they arise, so that
we are not left with untenable choices between bailouts and financial collapse. We propose:

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Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 8 of 15

¢ A new regime to resolve nonbank financial institutions whose failure could have serious
systemic effects

o Revisions to the Federal Reserve’s emergency lending authority to improve
accountability

(5) Raise international regulatory standards and improve internationai cooperation The
challenges we face are not just American challenges they are global challenges So, as we work
to set high regulatory standards here in the United States, we must ask the world to do the same.
We propose:

~ International reforms to support our efforts at home, including strengthening the capital
framework; improving oversight of global financial markets; coordinating supervision of
internationally active firms and enhancing crisis management tools

ln addition to substantive reforms of the authorities and practices of regulation and supervision,
the proposals contained in this report entail a significant restructuring of our regulatory system.
We propose the creation of a Financial Services Oversight Council, chaired by Treasury and
including the heads of the principal federal financial regulators as members We also propose
the creation of two new agencies We propose the creation of the Consumer Financial Protection
Agency, which will be an independent entity dedicated to consumer protection in credit, savings
and payments markets We also propose the creation of the National Bank Supervisor, which
will be a single agency with separate status in Treasuiy with responsibility for federally chartered
depository institutions To promote national coordination in the insurance sector, we propose the
creation of an Office of National Insurance within Treasury.

Under our proposal, the Federal Reserve and the Federal Deposit lnsurance Corporation (FDIC)
would maintain their respective roles in the supervision and regulation of state-chartered banks
and the National Credit Union Administration (NCUA) would maintain its authorities with
regard to credit unions The Securities and Exchange Commission (SEC) and Commodity
Futures Trading Commission (CFTC) would maintain their current responsibilities and
authorities as market regulators though we propose to harmonize the statutory and regulatoiy
frameworks for futures and securities

The proposals contained in this report do not represent the complete set of potentially desirable
reforms in financial regulation More can and should be done in the future. We focus here on
what is essential: to address the causes of the current crisis to create a more stable financial
system that is fair for consumers and to help prevent and contain potential crises in the future.
(For a detailed list ofrecoinmendations, piease see Summar_v of'Reeommendationsfollowing the
[ntroduetion.)

These proposals are the product of broad-ranging individual consultations with members of the
President’s Working Group on Financial Markets, Members of Congress, academics, consumer
and investor advocates community-based organizations the business community, and industry
and market participants

I. Prornote Robust Supervision and Regulation of Financial Firms

In the years leading up to the current financial crisis risks built up dangeroust in our financial
system Rising asset prices particularly in housing, concealed a sharp deterioration of
underwriting standards for loans The nation’s largest financial firms already highly leveraged,

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Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 9 of 15

became increasingly dependent on unstable sources of short-term funding In many cases
weaknesses in firms’ risk-management systems left them unaware of the aggregate risk
exposures on and off their balance sheets A credit boom accompanied a housing bubble
Taking access to short-tenn credit for granted, firms did not plan for the potential demands on
their liquidity during a crisis When asset prices started to fall and market liquidity froze, firms
were forced to pull back from lending, limiting credit for households and businesses

Our supervisory framework was not equipped to handle a crisis of this magnitude To be sure,
most of the largest, most interconnected, and most highly leveraged financial firms in the country
were subject to some form of supervision and regulation by a federal government agency. But
those forms of supervision and regulation proved inadequate and inconsistent

First, capital and liquidity requirements were simply too low. Regulators did not require firms to
hold sufficient capital to cover trading assets high-risk loans and off-balance sheet
commitments or to hold increased capital during good times to prepare for bad times
Regulators did not require firms to plan for a scenario in which the availability of liquidity was
sharply curtailed

Second, on a systemic basis regulators did not take into account the harm that large,
interconnected, and highly leveraged institutions could inflict on the financial system and on the
economy if they failed.

Third, the responsibility for supervising the consolidated operations of large financial firms was
split among various federal agencies Fragmentation of supervisory responsibility and loopholes
in the legal definition of a “bank” allowed owners of banks and other insured depository
institutions to shop for the regulator of their choice

Fourth, investment banks operated with insufficient government oversight Money market
mutual funds were vulnerable to runs Hedge funds and other private pools of capital operated
completely outside of the supervisory framework

To create a new foundation for the regulation of financial institutions we will promote more
robust and consistent regulatory standards for all financial institutions Similar financial
institutions should face the same supervisory and regulatory standards with no gaps loopholes
or opportunities for arbitrage

We propose the creation of a Financial Services Oversight Council, chaired by Treasury, to help
fill gaps in supervision, facilitate coordination of policy and resolution of disputes and identify
emerging risks in firms and market activities This Council would include the heads of the
principal federal financial regulators and would maintain a permanent staff at Treasury.

We propose an evolution in the F ederal Reserve’s current supervisory authority for BHCs to
create a single point of accountability for the consolidated supervision of all companies that own
a bank All large, interconnected firms whose failure could threaten the stability of the system
should be subject to consolidated supervision by the Federal Reserve, regardless of whether they
own an insured depository institution These firms should not be able to escape oversight of
their risky activities by manipulating their legal structure

Under our proposals the largest, most interconnected, and highly leveraged institutions would
face stricter prudential regulation than other regulated films including higher capital
requirements and more robust consolidated supervision ln effect, our proposals would compel
these firms to internalize the costs they could impose on society in the event of failure

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Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 10 of 15

II. Establish Comprehensive Regulation of Financial Markets

The current financial crisis occurred after a long and remarkable period of growth and innovation
in our financial markets New financial instruments allowed credit risks to be spread widely,
enabling investors to diversify their portfolios in new ways and enabling banks to shed exposures
that had once stayed on their balance sheets Through securitization, mortgages and other loans
could be aggregated with similar loans and sold in tranches to a large and diverse pool of new
investors with different risk preferences Through credit derivatives banks couid transfer much
of their credit exposure to third parties without selling the underlying loans This distribution of
risk was widely perceived to reduce systemic risk, to promote efficiency, and to contribute to a
better allocation of resources

However, instead of appropriately distributing risks this process often concentrated risk in
opaque and complex ways lnnovations occurred too rapidly for many financial institutions’ risk
management systems for the market infrastructure, which consists of payment, clearing and
settlement systems and for the nation’s financial supervisors

Securitization, by breaking down the traditional relationship between borrowers and lenders
created conflicts of interest that market discipline failed to correctl Loan originators failed to
require sufficient documentation of income and ability to pay. Securitizers failed to set high
standards for the loans they were willing to buy, encouraging underwriting standards to decline
Investors were overly reliant on credit rating agencies Credit ratings often failed to accurately
describe thc risk of rated products In each case, lack of transparency prevented market
participants from understanding the full nature of the risks they were taking.

The build-up of risk in the over-the-counter (OTC) derivatives markets which were thought to
disperse risk to those most able to bear it, became a major source of contagion through the
financial sector during the crisis

We propose to bring the markets for all OTC derivatives and asset-backed securities into a
coherent and coordinated regulatory framework that requires transparency and improves market
discipline Our proposal would impose record keeping and reporting requirements on all OTC
derivatives We also propose to strengthen the prudential regulation of all dealers in the OTC
derivative markets and to reduce systemic risk in these markets by requiring all standardized
OTC derivative transactions to be executed in regulated and transparent venues and cleared
through regulated central counterparties.

We propose to enhance the F ederal Reserve’s authority over market infrastructure to reduce the
potential for contagion among financial firms and markets

Finally, we propose to harmonize the statutory and regulatory regimes for futures and securities
While differences exist between securities and futures markets many differences in regulation
between the markets may no longer be justified ln particular, the growth of derivatives markets
and the introduction of new derivative instruments have highlighted the need for addressing gaps
and inconsistencies in the regulation of these products by the CFTC and SEC.

III. Protect Consumers and Investors from Financial Abuse

Prior to the current financial crisis a number of federal and state regulations were in place to
protect consumers against fraud and to promote understanding of financial products like credit
cards and mortgages But as abusive practices spread, particularly in the market for subprime

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Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 11 of 15

and nontraditional mortgages our regulatory framework proved inadequate in important ways
Multiple agencies have authority over consumer protection in financial products but for
historical reasons the supervisory framework for enforcing those regulations had significant
gaps and weaknesses Banking regulators at the state and federal level had a potentially
conflicting mission to promote safe and sound banking practices while other agencies had a
clear mission but limited tools and jurisdictionl Most critically in the run-up to the financial
crisis mortgage companies and other firms outside of the purview of bank regulation exploited
that lack of clear accountability by selling mortgages and other products that were overly
complicated and unsuited to borrowers’ financial situation, Banks and thrifts followed suit, with
disastrous results for consumers and the financial system

This year, Congress the Administration, and financial regulators have taken significant measures
to address some of the most obvious inadequacies in our consumer protection framework But
these steps have focused on just two, albeit very important, product markets g credit cards and
mortgages We need comprehensive reform

For that reason, we propose the creation of a single regulatory agency, a Consumer Financial
Protection Agency (CFPA), with the authority and accountability to make sure that consumer
protection regulations are written fairly and enforced vigorously The CFPA should reduce gaps
in federal supervision and enforcement; improve coordination with the states set higher
standards for financial intermediaries and promote consistent regulation of similar products

Consumer protection is a critical foundation for our financial system. lt gives the public
confidence that financial markets are fair and enables policy makers and regulators to maintain
stability in regulation Stable regulation, in turn, promotes growth, efficiency, and innovation
over the long term. We propose legislative, regulatory, and administrative reforms to promote
transparency, simplicity, fairness accountability, and access in the market for consumer financial
products and services

We also propose new authorities and resources for the Federal Trade Commission to protect
consumers in a wide range of areas

Finally, we propose new authorities for the Securities and Exchange Commission to protect
investors improve diselosure, raise standards and increase enforcement

IV. Provide the Government with the Tools it Needs to Manage Financial Crises

Over the past two years the financial system has been threatened by the failure or near failure of
some of the largest and most interconnected financial firms Our current system already has
strong procedures and expertise for handling the failure of banks but when a bank holding
company or other nonbank financial firm is in severe distress there are currently only two
options: obtain outside capital or file for bankruptcy During most economic climates, these are
suitable options that will not impact greater financial stability.

However, in stressed conditions it may prove difficult for distressed institutions to raise
sufficient private capital. Thus if a large, interconnected bank holding company or other
nonbank financial firm nears failure during a financial crisis there are only two untenable
options obtain emergency funding from the US government as in the case of AIG, or file for
bankruptcy as in the case of Lehman Brothers Neither of these options is acceptable for
managing the resolution of the firm efficiently and effectively in a manner that limits the
systemic risk with the least cost to the taxpayer.

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Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 12 of 15

We propose a new authority, modeled on the existing authority of the FDIC, that should allow
the government to address the potential failure of a bank holding company or other nonbank
financial firm when the stability of the financial system is at risk

ln order to improve accountability in the use of other crisis tools we also propose that the
F ederal Reserve Board receive prior written approval from the Secretary of the Treasury for
emergency lending under its “unusual and exigent circumstances” authorityl

V. Raise International Regulatory Standards and Improve International Cooperatien

As we have witnessed during this crisis financial stress can spread easily and quickly across
national boundaries Yet, regulation is still set largely in a national context Without consistent
supervision and regulation, financial institutions will tend to move their activities to jurisdictions
with looser standards creating a race to the bottom and intensifying systemic risk for the entire
global financial system

The United States is playing a strong leadership role in efforts to coordinate international

financial policy through the G-Z(), the Financial Stability Board, and the Basel Cornmittee on
Banking Supervision. We will use our leadership position in the international community to
promote initiatives compatible with the domestic regulatory reforms described in this report

We will focus on reaching international consensus on four core issues: regulatory capital
standards oversight of global financial markets supervision of internationally active financial
firms and crisis prevention and management

At the April 2009 London Summit, the G-QO Leaders issued an eight-part declaration outlining a
comprehensive plan for financial regulatory reform

The domestic regulatory reform initiatives outlined in this report are consistent with the
international commitments the United States has undertaken as part of the G-ZO process and we
propose stronger regulatory standards in a number of areas

Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 13 of 15

8-| 86 NAIC Proceedings f Fall 2013

Attachment Two-A
Title lnsurance (C) Task Force
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POLICv

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|nsurancefommissioners MEARCH_

 

MEMORANDUM

TO: Director Bruce R. Ramge (NE). Chair ofthe Title lnsuranee (C) Task Force
Commissioner Ted Nickel (Wl)_, Chair ofthe Capital Adequacy (E) Task Force

FROM: Alan Seeley (NM), Chair ofthe Title lnsul‘ance Risk-Bascd Capital (C/E) Subgroup
DATE: December 13, 2013

RE: Recommcndations and Status of Title Insura_nce Risk-Based Capital (C/E) Subgroup

 

The Title lnsurance Risk Based Capital (CfE) Subgroup of the Title Insurance (C) Task Force and the Capital Adequacy (E)
Ta_sk Force wishes to advise you that it has ascertained that developing risk-based capital requirements for title insurers is not
feasible at this time We have reached this conclusion for the following reasons

l. The development of Title RBC wouch as an initial condition. require uniform statutory accounting requirements
among the states This is currently not the case. as the accounting standards for statutory premium reserves
(SPR) and known claims reserves vary by State. Furthermore, obtaining uniform statutory accounting standards
for title reserves would. in our opinion, appear to require the development and inclusion of such standards in a
model law (such as a revision of the current Ti'rle fnsurers Moa'el Act (#628}) and that such a model law would
need to become an accreditation Standard in order to ensure its widespread passage In light of the difficulties in
gaining approval for model law revisions as well as their inclusion in NAIC accreditation Standards we
consider this to be highly unlikely

2. Even if the states were to adopt such uniformity, the amount of work needed to develop an RBC methodology
for title insurers would likely exceed the resources of the Subgroup and also would take numerous years to
develop. lt is worth noting that A.M. Best spent many years developing a version ot`their capital adequacy ratio
(BCAR) for title insurers

We also wish to advise you that in an effort to Obtain additional tools for monitoring the financial condition Of title insurers
we have requested that the Financial Analysis Researeh and Deve[opment (E) Working Group consider the development ot`
[RIS ratios and FAST scores for title insurers

Since the mission of our Subgroup appears to have been accomplished we respectfully request permission to disband. Please
do not hesitate to contact me at Alan.Seelev.@.state.nm.us or NAIC staff support Aaron Brandenburg at
abrandenburg@naic.org if you have any questions regarding our activities and findings or this request

 

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CAPETAL MARKETS & lNVESTMENT ANALYS|S OFF|CE » 48 Wal| Streel, 13th Floor - New`{ori<, N'.“” lOOUS--ZQOB p | 212 382 ‘JUDO I` 1212 382 -‘lZUI

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Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 14 of 15

USCA Case #13-7035 Document #1450213 Fl|ed: 08/06/2013 Page 24 of 42

Our thought Was that....
m IF' TITLE INSURANCE WAS TRULY

“. . .RELATED 'l"O RISK. . . ” OR INVOLVED THE

REDISTRIBUTION OF RISK¢ TITLE INSURERS
WOULD BE REQUIRE'D TO FILE RBC' REPORTS
AND BE SO REGULATED. THE OPPOSITE IS
TRUE: STATES ROUTINE'LY EXC'LUDE TITLE

INSURERS FROM THE REQUIREMENTS OF THE
RBC SYSTEM:

No state required. RBC reporting from title
companies. jForty-eight Insurance Commissioners responded
by leading us to the statutory law which excused the
title insurance comapnies: Alabama: Alahama Code § 27-3-
7; Alaska: A.S.A. 21:09.070; Arizona: R.S. § 20-1561(€);
Al"kanSE:tS: Ark. COCle Alln. § 23-63-1302 (8) (B) (iii) ,'
California: RBC not mentionedn; Colorado: RBC not
mentioned; Connecticut: Insurance Code § 383:72-l(h);
Delaware: Title 18, § 5801(7); Washindton D.C.: DC
Statutes § 31-2001(10); Florida: Title XXVII, Chapter
624.4085(j); Georgie: Georgis Code § 33-56-1(8); Hawaii:
RBC not mentioned; Idaho: Insurers Act § 41-5401(8);

Illinois: 215 I.L.C.S. § 5/35A-5; Indiane: Indiana Code

 

12 Where Risk-Based Capital was shown as “not
mentioned”, that meant “not found” by Complsinent
despite diligent search. In any event, the NAIC
regulations prevailed and the NAIC does not require
title insurers to file RBC reports.

_16_

Case 2:17-cv-06652-N.]B-.]CW Document 100-1 Filed 03/15/19 Page 15 of 15
USCA Case #13-7035 Document #1450213 Filed: 08/06/2013 Page 25 ot 42

§ 27»7-3; gomez title insurance not allowed; Kansas: RBC
not mentioned; Kentucky: 806 K.A.R. 3:190 § 7; Louisiana:
La. R.S. 22:6(9); Main€: Title 24-A, M.R.S. § 6451(6~A);
Maryland: RBC not mentioned; Massachusetts: 211 C.M.R.
§ 20.01; Michigan: RBC not mentioned; Minnesota: M.S.A.
§ GOA.GO(B); Mississippi: Miss. Code Ann § 83~5-401(g);
Missouri: Title 18 § 5801(7); Montana: M.C.A. § 33-2-
1902.210(iii)(b); Nehraska: Stock § 44-214, Risk Based
Capital Act C; Nevada: RBC not mentioned; New Hampshire:
NH R.S.A. § 416~A; New Jersey: N.J.S.A. § 17:46B-10.l ;
Minnesota: MN Statutes § GOA.GO{B); New York: NY

Insurance Law § 1324; North Carolina: RBC not mentioned;

North Dakota: RBC not mentioned; Ohio: response delayed;

 

Oklahoma: O.S. Title 365 § 203-5; Oregon: NAIC
regulations apply; Pennsylvsnie: NAIC regulations apply;
South Dakota: S.D.C.L. § 58-4-48; Tennessee: TCA.§ 56~35-
ll2; TeXaS: 28 TAC § 7.401(&)(2); §;QQ: RBC not
mentioned; Vermont: NAIC regulations apply, Exhihit D;
Virginia: VA Risk-Based Capital Act § 8.2~5500;
Washington: R.C.W. § 48.05.340; West Virginia: W.Va.Code
§33-3-5h; Wisconsin: RBC not mentioned; and_Wyoming: W.S.

§ 26-48-10l(al(iii) & (iv).

_17_

